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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  DARK CIRCUIT LABS, INC.,

                       Plaintiff,
         vs.

  BLACK SAILS SECURITY LLC, JOHN                 Civil Action No.: 1:23-cv-00326-LMB-LRV
  CARPENTER, ERIC MISSIMER,
  MICHAEL FRANK, and KEITH
  HADDOCK,
                 Defendants.


  ERIC MISSIMER,

                       Plaintiff,
         vs.
                                                 Civil Action No.: 1:23-cv-00476-LMB-LRV
  DARK CIRCUIT LABS, INC.,

                       Defendant.




 MEMORANDUM OF LAW IN SUPPORT OF DARK CIRCUIT LAB, INC.’S MOTION
 TO CONSOLIDATE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 42(a)



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                                        PRELIMINARY STATEMENT1

            Plaintiff Dark Circuit Labs, Inc. (“DCL”) respectfully submits this Memorandum of Law

 in support of its Motion to Consolidate pursuant to Federal Rule of Civil Procedure (“FRCP”)

 42(a) seeking an Order consolidating the actions of Dark Circuit Labs, Inc. v. Black Sails Security,

 LLC, et al., Civil Action No. 1:23-cv-00236 (“DCL I”), and Eric Missimer v. Dark Circuit Labs,

 Inc., Civil Action No. 1:23-cv-00476 (“DCL II”), for all purposes including trial.

            There can be no doubt of the appropriateness and necessity for consolidation of the two

 actions at issue. DCL I and DCL II involve the same litigants, DCL and Defendant Eric Missimer

 (“Missimer”), the same exact counsel for DCL and Missimer, and the allegations in each complaint

 arise out of a common nucleus of operative facts. Moreover, the requested relief in each complaint

 will require conclusions of law that are applicable to the parties’ claims and defenses in both

 actions. Specifically, DCL’s defenses to Missimer’s claims in DCL II are directly dependent on

 DCL’s allegations against Missimer in DCL I; to wit, these claims and defenses will require

 analysis of the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1831, et seq., and alleged

 breaches of the same Shareholders Agreement that is annexed to the complaints in both actions.2

            Additionally, no party will be prejudiced by the consolidation of these actions. If

 consolidation is refused, however, the Court and parties will be severely prejudiced by virtue of

 trying the same claims and defenses twice, incurring incredibly steep financial costs, and creating

 the institutional risk of inconsistent rulings or verdicts and eroding judicial economy. Accordingly,

 DCL’s motion to consolidate DCL I and DCL II should be granted in its entirety.



 1
   Unless otherwise noted, the factual statements referenced herein refer to the factual statements and the Exhibits
 annexed to the Declaration of Steven J. Weber, Esq. (“Weber Declaration” or “Weber Decl.”) submitted in support
 of DCL’s Motion to Consolidate.
 2
     (Compare Ex. 1 at ¶42, annexing Ex. A with Ex. 2 at ¶ 6, annexing Ex. A).



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                      FACTUAL AND PROCEDURAL BACKGROUND

        DCL is comprised of highly skilled software engineers, reverse engineers, and vulnerability

 researchers who possess appropriate U.S. Government security clearances to serve as a

 subcontractor to large organizations, such as DCL’s client Lockheed Martin Corporation

 (“LMCO”), to provide cyber security personnel, tools, and expertise in support of the United

 States’ National security missions. (Ex. 1, ¶ 6). Missimer was DCL’s Chief Technology Officer

 and custodian of DCL’s trade secrets on DCL’s corporate network and is also a DCL shareholder.

 (Ex. 1, ¶¶ 42, 44, 48-49). On November 3, 2021, Missimer entered into a Shareholders Agreement

 (“Shareholders Agreement”) for purposes of setting forth shareholders’ respective rights, duties, and

 obligations as owners of DCL, including but not limited to restrictive covenants and non-disclosure

 obligations by which Missimer agreed to abide. (Ex. 1, ¶ 42; Ex. 2, ¶ 6).

        From November 3, 2021 to December 15, 2022, in addition to his position as a shareholder

 of DCL and member of the Board of Directors of DCL, Missimer served as the Chief Financial

 Officer and Treasurer of DCL, as well DCL’s Chief Technology Officer (“CTO”). (Ex. 1, ¶¶ 44, 48).

 In his capacity as CTO, Missimer served as the custodian of and had access to all electronic data for

 DCL including its business records, business plans and other confidential and proprietary data which

 constitute confidential and proprietary information protected by the employment agreements and

 shareholder agreement referenced herein as well as “trade secrets” within the meaning of the

 DTSA and other applicable laws. (Ex. 1, ¶ 49).

        The evidence shows that since as early as November 2022, if not sooner, Defendants John

 Carpenter (“Carpenter”), Michael Frank (“Frank”), and Missimer conspired with Defendant Keith

 Haddock (“Haddock”), to utilize, without restraint, DCL’s trade secrets to convert DCL’s contracts

 to an entity, Defendant Black Sails Security LLC (“BSS” and together with Carpenter, Missimer,




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 Frank, Haddock, collectively, “DCL I Defendants”), owned and controlled by the DCL I

 Defendants, in violation of the DTSA, 18 U.S.C. § 1831, et seq., the restrictive covenants

 applicable to Missimer, Carpenter, and Frank as shareholders, officers, and/or employees of DCL,

 and state statutory and common law. (Ex. 1, ¶¶ 127-132, 137, 142-146, 158-176).

        DCL first filed a complaint against BSS, Carpenter, and Missimer in DCL I on March 10,

 2023, and thereafter filed a First Amended Verified Complaint (“FAVC”) on March 23, 2023

 adding two new defendants, Frank and Haddock, as well as new factual allegations. (See Ex. 1).

 Specifically, DCL alleges that Defendants have violated their contractual, statutory, and common

 law obligations to DCL by, inter alia, (i) wrongfully possessing, disseminating, misappropriating,

 utilizing or destroying DCL’s trade secrets and/or confidential/proprietary business information,

 (ii) recruiting and soliciting DCL employees away from DCL to join BSS or other employers, (iii)

 soliciting, diverting and/or servicing DCL’s actual or prospective customers, (iv) working for

 DCL’s direct competitor, BSS and others, while still employed by DCL, and thereafter (v) using

 DCL’s trade secrets for the benefit of a person or entity other than DCL, (vii) disclosing DCL’s

 trade secrets to BSS, Haddock and others, (vii) failing to return to DCL all of its confidential and

 trade secret information, (viii) causing LMCO to threaten to terminate or actually terminate DCL,

 (ix) inducing DCL to continue to employ Carpenter, Missimer, and Frank until Defendants could

 complete their plan to misappropriate DCL’s trade secrets, and (x) Defendants utilizing DCL’s

 trade secrets to accomplish these aforementioned acts. (See Ex. 1).

        On April 6, 2023, in DCL I, DCL filed a Motion for a Temporary Restraining Order

 (“TRO”), Preliminary Injunction, and Expedited Discovery pursuant to FRCP 65, brought on by

 Order to Show Cause, seeking to enjoin Defendants pending a determination of the relief requested

 in DCL’s FAVC. (ECF No. 20). The following day, on April 7, 2023, Missimer filed his complaint




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 in DCL II, a Virginia state court action against DCL in the Circuit Court for Fairfax County. (See

 Ex. 2). In DCL II, Missimer alleges claims arising out of his shareholder and employment status

 with DCL involving: (1) Breach of Contract; (2) the Virginia Wage Payment Act, Va. Code § 40.1-

 29 (“VWPA”); (3) the Virginia Whistleblower Protection Law, Va. Code § 40.1-27.3 (“VWPL”);

 and (4) Declaratory Judgment, Va. Code § 8.01-184. (See Ex. 1). Specifically, Missimer alleges in

 his DCL II Complaint that, inter alia, DCL breached its obligations to him under the Shareholders

 Agreement, (compare Ex. 1 at ¶42, annexing Ex. A with Ex. 2 at ¶ 6, annexing Ex. A), and that

 Missimer was subjected to retaliatory conduct during his employment with DCL such as reducing

 his salary and retaliatory termination by DCL when it terminated his employment on or about

 March 6, 2023. (See Ex. 2).

        On April 11, 2023, having not yet been served with the Summons and Complaint in DCL

 II, DCL filed a Notice of and Petition for Removal to remove DCL II from the Circuit Court of

 Fairfax County to the United States District Court for the Eastern District of Virginia on the basis

 of diversity jurisdiction. (Ex. 3). Defendants have now filed the instant motion seeking to

 consolidate DCL I and DCL II, which should be granted in its entirety for the reasons more fully

 set forth below. The TRO hearing has been scheduled by this Court for Friday, April 21, 2023, at

 10:00 a.m., and DCL has noticed a hearing date for this same date and time as it relates to the

 instant motion for purposes of efficiency for the Court and parties. (ECF No. 24).

                                      LEGAL ARGUMENT

   THE CLAIMS AND DEFENSES IN DCL I AND DCL II ARISE FROM A COMMON
    NUCLEUS OF OPERATIVE FACTS AND THUS THE ACTIONS ARE RIPE FOR
    CONSOLIDATION BECAUSE THE PARTIES WILL SUFFER NO PREJUDICE
  AND JUDICIAL ECONOMY FAVORS COMBINING THE TWO RELATED ACTIONS

        This Court should refuse to endorse Missimer’s gamesmanship and consolidate these two

 actions for all purposes including trial. Under FRCP 42(a)(2), “[i]f actions before the court involve



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 a common question of law or fact, the court may . . . consolidate the actions.” Claims are considered

 part of the same case or controversy when they are “derived from a common nucleus of operative

 fact.” United Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966). “Most federal courts require only a

 loose factual connection between the claims to satisfy the requirement that the claims arise from a

 common nucleus of operative fact.” Nicol v. Imagematrix, Inc., 767 F. Supp. 744, 748 (E.D. Va.

 1991) (citation and internal quotation marks omitted). If it is determined that two matters involve

 common questions of law or fact, then courts examine the following critical issues to determine

 whether consolidation is proper:

         Whether the specific risks of prejudice and possible confusion [are] overborne by the
         risk of inconsistent adjudications of common factual and legal issues, the burden on
         parties, witnesses and available judicial resources posed by multiple lawsuits, the
         length of time required to conclude multiple suits as against a single one, and the
         relative expense to all concerned of the single-trial, multiple-trial alternatives. Kelley
         v. U.S., 580 F. Supp. 2d 490, 493 (E.D. Va. 2008) (quoting Arnold v. E. Air Lines,
         Inc., 681 F.2d 186, 193 (4th Cir. 1982)).

 Finally, district courts have broad discretion under FRCP 42(a) to consolidate causes pending in

 the same judicial district. A/S J. Ludwig Mowinckles Rederi v. Tidewater Const. Co., 559 F.2d 928,

 933 (4th Cir. 1977).

         Here, careful consideration makes clear that the factors that favor consolidation in this case

 outweigh those that counsel against it. See U.S. ex rel. Sprinkle Masonry, Inc. v. THR Enterprises,

 Inc., Nos. 2:14cv251, 2:14cv252, 2014 WL 4748527, at *3 (E.D. Va. Sept. 23, 2014). DCL I and

 DCL II meet the threshold requirement because the two matters involve common questions of law

 or fact as it relates to the parties’ claims and defenses in each action. Specifically, Missimer alleges

 in the DCL II Complaint, inter alia, that DCL breached its obligations to him under the

 Shareholders Agreement, and that Missimer was subjected to retaliatory conduct during his




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 employment with DCL related to alleged “whistleblower” activity such as reducing his salary and

 retaliatory termination by DCL when it terminated his employment on March 6, 2023. (Ex. 2).

        DCL’s legitimate, non-retaliatory reasons for any such alleged conduct, which is the

 subject of DCL’s defenses in DCL II, is founded directly upon DCL’s allegations in DCL I that

 Missimer and the other Defendants, toward the end of 2022, if not sooner, misappropriated DCL’s

 Trade Secrets, which are protected under the DTSA. See 18 U.S.C. § 1836(c) (“The district court

 of the United States shall have original jurisdiction of civil actions brought under this section”).

 (See Ex. 1, ¶¶ 1, 40, 211-224). DCL further asserts factual allegations in its FAVC regarding

 Missimer’s conduct that led to his termination in DCL I that are directly related to the claims

 asserted by Missimer against DCL regarding his termination in DCL II. (See Ex. 1, ¶¶ 89, 101,

 138-140).

        As a result, DCL’s defenses to Missimer’s claims in DCL II are directly dependent on

 DCL’s allegations against Missimer in DCL I, which will require analysis of the DTSA and alleged

 breaches of the same Shareholder Agreement that is annexed to the complaints in both actions.

 (Compare Ex. 1 at ¶42, annexing Ex. A with Ex. 2 at ¶ 6, annexing Ex. A). It is beyond dispute

 the claims and defenses in these two actions arise from a common nucleus of operative facts.

 Clearly, therefore, DCL I and DCL II meet FRCP 42(a)’s requirement that the consolidated actions

 share common questions of law or fact.

        As it relates to the Court’s consideration of the other factors at issue, all such factors favor

 consolidating DCL I and DCL II. See Kelley, 580 F. Supp. 2d at 493 (quoting Arnold, 681 F.2d at

 193). As noted above, DCL I and DCL II involve common facts and corresponding conclusions of

 law. Consequently, the two actions will involve identical discovery with identical testimonial and

 documentary evidence from both Missimer and DCL in defense of the other party’s claims.




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  Consolidating pretrial and trial activities, therefore, will cut down on the burden and expense of

  the parties, witnesses, and the Court, which is already laboring under a backlog of cases.

         As Arnold instructs, the Court must also consider the “length of time required to conclude

  multiple suits as against a single one, and the relative expense to all concerned of the single-trial,

  multiple-trial alternatives.” 681 F.2d at 193. If the cases remain separate, however, the parties and

  witnesses will be forced to undergo unnecessarily duplicative discovery and the parties will likely

  engage in duplicative motion practice, further burdening an already overburdened court system.

  Furthermore, the parties, the Court, and the citizens who serve on each jury will be forced to

  participate in duplicative trials, at completely avoidable mental, financial, and institutional costs.

  This is especially true for the parties because the asserted claims in both actions involve fee shifting

  and thus hearing the parties’ claims together in a single forum will prevent the risk of inconsistent

  judgments with respect to these issues. See Sprinkle Masonry, 2014 WL 4748527, at *3 (finding

  that there exists a significant risk of “inconsistent adjudication if the cases remain separate . . . as

  both cases involve similar factual situations involving nearly identical legal claims.”).

         For all of these reasons, the Court should exercise its broad discretion to consolidate DCL I

  and DCL II, both of which are pending in this District and Division, under FRCP 42(a).

                                             CONCLUSION

         For the foregoing reasons, DCL respectfully requests that this Court grant its Motion to

  Consolidate, pursuant to FRCP 42(a), and issue an Order consolidating the actions of Dark Circuit

  Labs, Inc. v. Black Sails Security, LLC, et al., Civil Action No. 1:23-cv-00236, and Eric Missimer

  v. Dark Circuit Labs, Inc., Civil Action No. 1:23-cv-476, for all purposes including trial, and for

  such other and further relief as may be appropriate.




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  Dated: April 12, 2023             Respectfully submitted,


                                    __________________________________
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